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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

               v.                                    Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                    Defendant.


      DEFENDANT’S RESPONSE TO GOVERNMENT’S NOTICE OF INTENT
 TO INTRODUCE 404(b) EVIDENCE AND MOTION IN LIMINE TO EXCLUDE THAT
                EVIDENCE UNDER RULES 403 AND 404(b)

I.     INTRODUCTION

       The government claims a right to introduce “other acts” evidence under Rule 404(b) to

show that Mr. Craig had a motive to make false statements and material omissions to the

Department of Justice’s FARA Unit as part of an alleged scheme to avoid having to register

under the Foreign Agents Registration Act. The “other acts” at issue involve Mr. Craig’s

participation in his law firm’s hiring of Paul Manafort’s daughter as a full-time associate in June

2012, after her offer from Dewey & LeBoeuf, LLP evaporated when the firm collapsed.1 The

government’s argument boils down to an assertion that Mr. Craig’s efforts to obtain an interview

for Ms. Manafort and to recommend that she be hired by Skadden in the spring of 2012 are

evidence of Mr. Craig’s desire to please Mr. Manafort. The government claims that a similar

“motive” prompted Mr. Craig to mislead the FARA Unit in written communications and during a


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          The government half-heartedly “protect[s]” the immediate relative from adverse
publicity by not providing her actual name. See Notice at 2. That protection was illusory,
however, because it has been widely reported in previous press stories that Andrea Manafort
worked as a Skadden associate for several years before joining a local business as an in-house
attorney. Several news organizations identified the “immediate relative” within hours of the
government’s filing.
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meeting in the fall of 2013. The government’s presentation of the facts is misleading and

incomplete; the logic of its “motive” argument is untenable; and the mini-trial that would result

if this spurious evidence is admitted would be a massive distraction from the issues the jury will

be asked to decide. For these reasons, the Court should exclude the government’s proffered Rule

404(b) evidence as far more prejudicial than probative.

II.    STATEMENT OF THE PERTINENT FACTS

       On April 30, 2012, the global law firm Dewey & LeBoeuf, LLP, with offices in 26

countries and over 1,000 attorneys, announced to its partners that they should seek employment

elsewhere; a month later the firm filed for bankruptcy.2 Among those most devastated by

Dewey’s collapse, and least prepared to deal with it, were the dozens of third year law students

who had worked at Dewey as summer associates, and had accepted permanent job offers to

commence their legal careers in the fall of 2012. Paul Manafort’s daughter Andrea was one such

promising third year law student. When Dewey’s collapse seemed imminent, she began urgent

efforts to find a suitable position with another law firm.

       On April 30, 2012, Mr. Manafort wrote to Mr. Craig with a request that he meet with

Andrea and help determine whether she might be able to arrange interviews at Skadden for a

first-year associate’s position. See Ex. 1 (April 30, 2012 email from Manafort to Craig). Ms.

Manafort was a magna cum laude graduate of the University of South Carolina, and a May 2012

candidate for a J.D. degree from the Georgetown University Law Center. She had been a summer

associate with Dewey’s New York City office and had received an offer of permanent

employment with the firm. She had done well in law school and had served as an editor on the


       2
         See Peter Lattman, Dewey & LeBoeuf Said to Encourage Partners to Leave, N.Y. Times
(April 30, 2012), https://dealbook.nytimes.com/2012/04/30/dewey-leboeuf-said-to-encourage-
partners-to-leave; Peter Lattman, Dewey & LeBoeuf Files for Bankruptcy, N.Y. Times (May 28,
2012), https://dealbook.nytimes.com/2012/05/28/dewey-leboeuf-files-for-bankruptcy.

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Georgetown International Environmental Law Review. Id. (attached resume redacted to remove

protected identifying information).

       Mr. Craig met with Ms. Manafort as requested. See Ex. 2 (May 8, 2012 email from

Manafort to Craig). The following day, Mr. Craig told Mr. Manafort that he had discussed

Andrea’s situation with Mitchell Ettinger, the head of Skadden’s litigation group in the D.C.

office. Mr. Ettinger said he would invite Andrea for a meeting to “give her some counseling,”

not only about prospects at Skadden but also about a potential opportunity with another large

firm that Mr. Ettinger believed might need new associates in the fall. See Ex. 3 (May 9, 2012

email from Craig to Manafort).

       Unbeknown to Mr. Craig, Mr. Ettinger, or Mr. Manafort, Ms. Manafort’s resume had

already been forwarded to the attorney recruiting staff in Skadden’s New York office by the

recruiting director at Dewey. Dewey’s recruiting staff was attempting to assist those third year

law students who had been offered permanent positions at Dewey to find other jobs. On May 11,

2012, a supervisor in Skadden’s recruiting department, who was unaware of Ms. Manafort’s

scheduled interview with Mr. Ettinger, sent Ms. Manafort a form letter indicating that Skadden

was “not in a position to invite you to interview with us.” Mr. Manafort complained to Mr.

Craig, see Ex. 4 (May 29, 2012 email from Manafort to Craig attaching May 11, 2012 rejection

letter), who was genuinely perplexed by the rejection letter. Mr. Craig contacted Mr. Ettinger,

stating “I thought someone from the firm would at least talk to her.” See Ex. 5 (May 30, 2012

email from Craig to Ettinger). Mr. Craig also responded to Mr. Manafort, stating that he “had no

idea,” about the rejection letter and that he had thought Ms. Manafort was “coming in again for

another interview.” See Ex. 6 (May 30, 2012 email from Craig to Manafort).




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       Mr. Ettinger was also puzzled by the rejection letter because Ms. Manafort was on his

“radar to talk to but [I] have been on the road.” He added that this was an administrative “screw

up,” see Ex. 7 (May 30, 2012 email from Ettinger to Craig), and later mentioned that he had not

been aware that Skadden’s recruiting staff had received a copy of her resume. See Ex. 8 (May 30,

2012 email from Ettinger to Craig). Mr. Ettinger got in touch with Ms. Manafort and scheduled

an interview for the following week. See Ex. 9 (email string between Jen Spaziano, Ettinger,

Craig and Manafort, dated May 31 and June 1, 2012). Following that interview on June 5, Mr.

Ettinger told Mr. Craig that “[i]f all goes well, she will be returning for more formal interviews.”

See Ex. 10 (June 5, 2012 email from Ettinger to Craig); Ex. 11 (email string between Manafort

and Craig, dated June 6, 2012).

       On June 12, 2012, Andrea Manafort was interviewed by three Skadden partners and three

associates. Mr. Manafort was pleased and told Mr. Craig that Andrea’s employment would have

potential business benefits for the firm. See Ex. 12 (June 12, 2012 email from Manafort to

Craig). On June 21, 2012, Mr. Ettinger asked Mr. Craig to prepare a memorandum to Skadden’s

New York office explaining that the D.C. office was recommending that Skadden should make

Ms. Manafort an offer of employment. See Ex. 13 (June 21, 2012 email string between Ettinger

and Craig). Mr. Craig drafted a memo and forwarded it to Mr. Ettinger, and later revised it, at

Mr. Ettinger’s suggestion, to focus on the “business front.” See Ex. 14 (June 23, 2012 email from

Ettinger to Craig).

       Mr. Craig’s initial draft memo to Mr. Ettinger described many reasons why Ms. Manafort

should be extended an offer of employment. They included the fact that five of the six lawyers

who had interviewed her “concluded that she should either ‘definitely receive an offer,’ or that

she should be given ‘strong consideration.’” See Ex. 15 (June 23, 2012 email from Craig to



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Ettinger, attaching draft memo). He noted that she was “out of step with others in her class

through no fault of her own,” and that “Dewey’s collapse has pulled the rug out from under her

personally and professionally.” Id. He explained that her father had been working closely with

Mr. Craig on a large matter, and that Mr. Manafort had asked Mr. Craig to meet with his

daughter for career advice. Id. “It was a perfectly natural request, and I agreed to talk to her.” Id.

Mr. Craig noted that after meeting with Ms. Manafort he came away with four thoughts:

                (1) Andrea is very personable and engaging, an agreeable and
                charming young woman. She would be a strong member of any
                team. (2) Andrea is also very smart and, more than that, she has
                extraordinary people/communication skills . . . . (3) She is also one
                ambitious young lady. She will work hard to succeed here. (4) If
                she had come to Skadden as a summer associate, I feel pretty
                confident that she would have been offered a job here.

Id. As a “final factor,” Mr. Craig noted that Mr. Manafort was “thrilled with the firm’s

performance for him and his clients, and he will likely refer significant business to us in the

future,” a “likelihood [that] becomes a certainty if we have Andrea working here.” Id. In

summary, Mr. Craig predicted that Andrea “will do very well here, . . . she will be a fast learner

and . . . she will be well-liked. I think there is virtually no chance that she will disappoint.” Id.

        After Mr. Ettinger’s comment about giving greater emphasis to the business reasons to

hire Ms. Manafort, Mr. Craig revised his memo, adding further details concerning the billings to

date on the Tymoshenko matter, and Mr. Manafort’s potential to generate significant future

business for Skadden. He noted that Mr. Manafort was “one of the top Republican lobbyists in

Washington, D.C.,” that he “has been working in Republican politics for almost forty years,” and

had been involved “in every presidential campaign since [the election of Ronald Reagan in]

1980.” See Ex. 16 (June 25, 2012 email from Craig to Ettinger, and revised memo). Mr. Craig

noted that while Mr. Manafort, through his political and business connections, “is likely to throw

a lot of work our way if Andrea comes to Skadden,” he also noted “I honestly have no idea,

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concretely, what that work could amount to on an annual basis, but it has the potential to be

significant.” Id. The following day, Mr. Ettinger told Mr. Craig that he had revised his memo

slightly, and that Mr. Ettinger planned to submit it to the New York office, along with his own

recommendation that “we make an offer [to Ms. Manafort], which I understand will be

approved.” See Ex. 17 (June 26, 2012 email from Ettinger to Craig, and attached revised memo).

       On June 27, 2012, Mr. Ettinger forwarded Mr. Craig’s memo about Andrea Manafort’s

application to David Zornow, the global head of Skadden’s litigation practice and a member of

the law firm’s Policy Committee. Mr. Zornow said that he was “supportive.” See Ex. 18 (June

27, 2012, email exchange between Zornow and Ettinger). The next day, Mr. Ettinger forwarded

Mr. Craig’s memo to a partner on the hiring committee, Howard Ellin in New York, and several

other members of Skadden’s management. Mr. Ettinger noted that Skadden’s litigation group in

D.C. sought authorization to make an offer to Ms. Manafort, and explained the circumstances of

her lost opportunity at Dewey. Mr. Ettinger wrote that he and Mr. Craig “believe that extending

an offer to Andrea is a win-win situation.” See Ex. 19 (June 28, 2012 email exchange between

Ettinger, Ellin, and Craig). Mr. Ettinger went on:

               First, although her grades were a little lower than we would like,
               she is smart and interviewed well. We think she will be an asset to
               the Group and be well liked. Second, her presence increases our
               chances of securing additional business through Mr. Manafort. He
               has expressed his gratitude to Greg for entertaining Andrea’s
               application. Lastly, given this young lady’s predicament, we feel
               that Skadden would be providing her with an opportunity to
               salvage the start of her career.

Id. Mr. Ettinger noted that Mr. Zornow had reviewed the situation and was supportive of the

decision to hire Ms. Manafort. Mr. Ettinger opined that he believed that Eric Friedman, the

firm’s Executive Partner, “also will be supportive.” Id. Skadden in fact made an offer to Ms.




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Manafort on June 28, 2012. See Ex. 20 (email exchange between Manafort and Craig on June 28

and 29, 2012).

       In the fall of 2012, Andrea Manafort began work for Skadden in the D.C. office, assigned

as an associate in the litigation department. She did not work on the Tymoshenko Project. To the

best of our knowledge, Mr. Manafort referred no additional matters of significance to Skadden in

the years following Skadden’s completion of the Tymoshenko Report. Ms. Manafort performed

well at Skadden, and left the firm voluntarily in 2016 to take a position in the general counsel’s

office of a local business.

III.   ARGUMENT

       A.        The proffered acts are not admissible under Rule 404(b) because they are not
                 probative of Mr. Craig’s motive.

       Under Rule 404(b)(1), “[e]vidence of a crime, wrong, or other act is not admissible to

prove a person’s character in order to show that on a particular occasion the person acted in

accordance with the character.” Under subsection (b)(2), the evidence may be admissible for

another purpose, and the sole admissible purpose cited by the government here is motive. Motive

is “a state of mind that is shown by proving the emotion that brings it into being . . . as a

circumstance of showing the probability of appropriate ensuing action . . . .” United States v.

Day, 591 F.2d 861, 874 (D.C. Cir. 1978) (citations and internal quotations omitted). Motive is

not a “consequential fact,” however; “‘motive’ must be an intermediate inference in route to

some ultimate fact.” 22B C.A. Wright, et al., Federal Practice and Procedure § 5248, at 179 (2d

ed. 2017). The government has the burden of proving the relevance of “other act” evidence for

an admissible purpose. United States v. Hernandez, 780 F.2d 113, 118 (D.C. Cir. 1986). And

even if the evidence is relevant to something other than character, the Court may exclude the




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evidence under Rule 403 if “the probative value of that evidence [is] outweighed [by] its

prejudicial effect under Federal Rule of Evidence 403.” Id. at 118.

       The government’s 404(b) notice, although procedurally defective, 3 states that the

proffered evidence will be offered to show Mr. Craig’s “motive to curry favor with Manafort, as

well as his motive and intent in his dealings with the FARA Unit in 2013.” ECF No. 22, at 4. But

the question for the jury is whether Mr. Craig made material misrepresentations or omissions to

the FARA Unit in 2013. The government makes no claim that Mr. Manafort urged Mr. Craig to

make misrepresentations or omissions to the FARA Unit, or in any way suggested that he would

send business to Skadden if Mr. Craig avoided FARA registration. The government’s chain of

inferences is much more strained: that Mr. Craig had a business motive to please Mr. Manafort;

that Mr. Craig knew Mr. Manafort would be pleased if Mr. Craig reached out to reporters to

support Ukraine’s public relations efforts; that Mr. Manafort would not be pleased if his reaching

out to reporters caused Mr. Craig to register under FARA; and that Mr. Craig acted in

conformance with his business motive by reaching out to reporters to support public relations

efforts and thereafter making false and material omissions to the FARA Unit about why he did

so. This is too much weight for the chain to bear.




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           In 1991 Rule 404(b) was amended to require the prosecution, upon request from the
defendant in a criminal case, to “provide reasonable notice of the general nature of any such
[crimes or other acts] evidence that the prosecutor intends to offer at trial.” In this case, the Court
required that the Notice be filed by May 10, 2019. The Advisory Committee Notes to the 1991
Amendments suggest that this Notice should inform the defense “how it intends to use the
extrinsic act evidence at trial, i.e., during its case-in-chief, for impeachment, or for possible
rebuttal.” Adv. Comm. Note, Fed. R. Civ. P. 404(b), 1991 Amendments. The Notes also suggest
that the trial court may choose to review the evidence to be offered under Rule 404(b) in limine,
and to require the government to “disclose to it the specifics of such evidence which the court
must consider in determining admissibility.” Id.


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       The government’s chain of inferences breaks right at the outset with the improbable

postulate that one who does a benign and lawful favor for another betrays a willingness to

commit a crime to benefit the other. No one can dispute that, by introducing Andrea Manafort to

his law firm’s management, Mr. Craig performed a favor for Mr. Manafort. But in performing

that favor, Mr. Craig was not acting alone or in secret, nor did he violate some firm policy or

practice. The law firm as a whole became engaged in reviewing Ms. Manafort’s credentials and

her prospects for success as an associate. The favor performed by Mr. Craig was unremarkable

and benign; he crossed no lines in taking actions that benefitted not only Ms. Manafort but the

law firm as well. The favor that Mr. Craig performed was the type of action that any partner at

any law firm might have taken on behalf of a client or a professional colleague. With this

evidence, however, the government implies that, to curry favor with Mr. Manafort and thereby

potentially bring in new business for Skadden, Mr. Craig was willing to cross some line – ethical,

moral, procedural – to assist Ms. Manafort. The government hopes that jurors, who are not

familiar with law firm hiring practices and protocols, will find something improper or tawdry in

Mr. Craig’s acts, and thereby be more apt to find that he did something unlawful in his

interaction with FARA. That is prototypical character evidence inadmissible under Rule 404(b).

       Mr. Craig’s only rational response to the government’s proffered evidence would be to

show that his conduct was perfectly appropriate, well-intended, and accepted in law firm culture,

and that he crossed no legal, ethical, moral, or procedural line in anything he did with respect to

helping Mr. Manafort’s daughter find permanent employment at Skadden. As explained below,

Mr. Craig is quite confident that he will “win” this mini-trial, but the distraction of a mini-trial

on law firm employment practices is not in anyone’s interest. And even if Mr. Craig were to

“lose” the mini-trial, the government’s evidence still would not be probative of an essential



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element of the charged offenses. The ultimate fact the government is trying to prove is that a

business motive to please Mr. Manafort caused Mr. Craig to knowingly and willfully misled the

FARA Unit. Yet even in the civil context, with a lower burden of proof and where the stakes are

not as high, it is well-recognized that a motive to retain a professional client is not probative of

fraud. “[I]t is economically irrational to risk your professional reputation, license, and the

possibility of legal liability simply in return for a professional services fee.” Stephenson v. Citco

Group Ltd., 700 F. Supp. 2d 599, 621 (S.D.N.Y. 2010); see also In re Lyman Good Dietary

Supplements Litig., No. 17-cv-8047 (WEC), 2018 U.S. Dist. Lexis 131668, at *9 (S.D.N.Y. Aug.

6, 2018) (collecting cases for the proposition that general motives to earn a profit are not

sufficient to show scienter for fraud).

       The proffered “other acts” evidence should be excluded because the government has not

carried its burden to prove that it is probative of some fact other than Mr. Craig’s character.

       B.      The evidence should be excluded under Rule 403.

       Even if the “other act” evidence meets the standard for admissibility under Rule

404(b)(2), the Court may exclude it “if its probative value is substantially outweighed by a

danger of one or more of the following: unfair prejudice, confusing the issues, misleading the

jury, undue delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid.

403. As the Supreme Court recognized in Huddleston v. United States, 485 U.S. 681 (1988), trial

courts are directed by Rule 404(b) to exercise their discretion in assessing proffered “other

crimes or acts” evidence under the familiar balancing test of probative value versus prejudice

concerns under Rule 403. Id. at 688 (quoting S. Rep. No. 93-1277, at page 25 (1974)).

               1.      The probative value of the evidence is minimal.

       As explained above, the fact that Mr. Craig passed along to others at Skadden Mr.

Manafort’s suggestion of the prospect of future business as a reason to consider interviewing his

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daughter is not probative of a motive by Mr. Craig to commit any criminal act. It is banal. It

occurs daily in private law firms, as well as private corporations, universities, nonprofits, and

virtually every other private institution in America that has employees. The conduct might be

probative of a material issue if Mr. Craig crossed some line in assisting Ms. Manafort, but the

government makes no argument that he did. And the evidence (described in more detail in the

next section) establishes the contrary. Mr. Craig and especially Mr. Ettinger thought that

business prospects were among the appropriate points of emphasis to be made in explaining to

Skadden’s senior management why the firm should consider Ms. Manafort’s late application to

join a recruiting class that already had been filled. The government’s documents do not support

its contention that Mr. Craig went out of his way to secure a position for her in order to “curry

favor” with her father, or that she was unqualified for the position. The evidence actually reflects

that Mr. Craig met with Ms. Manafort because of unfortunate circumstances that left her in the

spring of her third year without a permanent job prospect when Dewey collapsed, and that he

recommended that Skadden should hire her because he, along with many others at Skadden, were

favorably impressed when they met her. Mr. Craig did not make the decision to hire Ms.

Manafort; the firm made the decision through appropriate channels. The probative value of the

government’s “other act” evidence, if any, is scant.

               2.      Admitting the government’s evidence will lead to a prejudicial mini-
                       trial.

       Most of the Rule 403 “dangers” will be implicated if the government is permitted to

pursue its “other act” evidence. The government apparently wants to present the “other act”

through a few e-mails that would leave the jury with a misleading impression that Mr. Craig

somehow bent internal firm procedures or coerced the firm into making an offer to an

unqualified candidate who had been previously rejected. But this is not a classic “prior bad acts”


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case where simple proof of a criminal conviction establishes both the prior bad act and its

meaning without further explication. E.g., United States v. McCarson, 527 F.3d 170 (D.C. Cir.

2008) (prior convictions for gun possession and distribution of crack cocaine probative of current

charges of intent to distribute crack cocaine and constructive possession of gun and drugs). In

this case, the “other act” is not remotely criminal, and the jury will need context to understand its

significance, including the facts demonstrating that Skadden had not in fact previously

considered and rejected Ms. Manafort’s application.

       Mr. Craig will be required to respond to the government’s evidence with more e-mails

and documents, as well as six to ten live witnesses from Skadden who were involved in the

decision to hire Ms. Manafort, to show that his motive was not to sabotage his firm’s hiring

procedures to curry favor with Mr. Manafort. Rather, he acted to assist his firm in hiring a

qualified candidate who had suffered a bad break. He will show that he did not use any undue

influence or engage in improper, unusual, or exceptional conduct of any kind. This will require a

mini-trial on law firm practices and procedures that assuredly will cause undue delay and waste

of time, and likely will confuse the issues and mislead the jury. Among other things, the

evidence is likely to be confused with another of the government’s theories – that Mr. Craig

misled his law firm in responding to the FARA inquiries. The entire sideshow will be unfairly

prejudicial to Mr. Craig given the insignificance of the proffered Rule 404(b) evidence to the

material issues in the case.

       Because the government’s summary of the “other act” evidence is misleading in

important respects, we have attached copies of the relevant documents as exhibits referenced

above. That evidence demonstrates that although Mr. Manafort wanted his daughter to interview

at Skadden and Mr. Craig wanted to help, nothing Mr. Craig did was out of the ordinary for



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private law firms like Skadden. As it turns out, both Mr. Craig and Mr. Ettinger were impressed

with Ms. Manafort’s credentials and her potential to perform well at Skadden. Mr. Ettinger then

arranged for her to be interviewed by six other Skadden attorneys, and they were favorably

impressed as well. Other senior attorneys in the firm ultimately agreed that Ms. Manafort should

be given an opportunity to join the firm’s entering class of associates.

       Despite the suggestions in the government’s Notice, Mr. Manafort never requested that

Skadden not register under FARA; neither did Mr. Pinchuk or any officials in the Ukraine

government (who presumably had little, if any, knowledge of FARA’s disclosure requirements).

The decisions that Skadden reached about its potential FARA obligations were based on its own

research and analysis of the legal issues involved, a process the firm repeated on several

occasions throughout the course of the project, without any pressure being applied by Mr.

Manafort. See, e.g., Indictment, ECF No. 1, ¶¶ 9, 13-15. No evidence of pressure from Mr.

Manafort for Skadden not to register under FARA is presented in the Indictment, and no such

evidence appears in the tens of thousands of documents that the government has produced in

discovery. Even if it were true that Mr. Craig spoke to reporters at the New York Times on

December 12, 2012 about the release of the report because Mr. Manafort wanted him to – which

it is not – the evidence will demonstrate that Mr. Manafort was fully aware that Skadden had

determined that it would not engage in actions that the firm believed would require FARA

registration. Mr. Craig never believed that his limited contacts with the New York Times and a

few other media outlets to ensure that Skadden’s report was fairly characterized in the press

required him to register under FARA. The notion that Mr. Craig declined to register in order to

curry favor with Mr. Manafort “and continue to bring in his high-paying business,” Notice, at 4,

is totally devoid of evidentiary support. Since the government has obtained and reviewed reams



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of documents from Manafort, his colleague Rick Gates, FTI Consulting, Skadden, and others

involved in Ukraine’s release of the Skadden report, the government knows full well that it has

no such evidence. Its suggestion to the contrary is baseless.

       Finally, the evidence will show that the supposed Manafort business motive is a canard.

After the Tymoshenko report was published, Skadden ceased performing any work for Ukraine.

To our knowledge, Mr. Manafort never was a continuing source of referral business for Skadden.

There is not a shred of evidence to support the notion that Mr. Craig was motivated to lie to the

FARA Unit in the fall of 2013 in order to advance the interests of Mr. Manafort, Mr. Pinchuk, or

Ukraine. The government’s assertion that “Craig’s desire to keep Manafort’s business – as

demonstrated in detail in his efforts on behalf of Manafort’s relative – is probative of his motive

and intent to mislead the FARA Unit and avoid registering under FARA,” ECF No. 22 at 5, is

completely devoid of temporal logic or supporting documentation. A full account of the evidence

surrounding Mr. Craig’s efforts to assist Andrea Manafort demonstrates chiefly that Mr. Craig

had a motive to assist a young lawyer at the start of a promising career. That evidence also will

show that Ms. Manafort impressed many lawyers at Skadden who interviewed her and

considered her circumstances. Although the government contends that the potential prejudicial

impact of its proffered Rule 404(b) evidence on Mr. Craig is diminished because his actions were

not “criminal or even [a] ‘bad’ act,” ECF No. 22 at 6, there is a very real potential for this

evidence to engage the Court in a wasteful mini-trial, involving the testimony of numerous

witnesses who will counter the government’s theories that Mr. Craig’s actions in helping Ms.

Manafort somehow contravened Skadden’s hiring policies and that Mr. Craig convinced

Skadden to hire a well-qualified associate simply to “curry favor” with her father.




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       Where, as here, the probative value of the evidence the government proffers is slight –

and perhaps evanescent – and where the potential for confusion in the minds of the jury, for

prejudice to the defendant, and for a colossal waste of time is high, the Court has ample

discretion to deny the government an opportunity to unfairly seek to smear Mr. Craig (and to

cause further damage to Andrea Manafort) through the introduction of Mr. Craig’s

understandable efforts to help a business client’s daughter obtain an interview for a job.

Accordingly, the Court should reject the government’s “other act” evidence as more prejudicial

than probative under Rule 403 of the Federal Rules of Evidence.

IV.    CONCLUSION

       The Court should exercise its discretion and grant defendant’s motion in limine,

precluding the government from offering any evidence concerning Skadden’s hiring of Andrea

Manafort as an associate. That evidence, whether it is to be offered as part of the government’s

case in chief, or for impeachment purposes, or on rebuttal, has no place in the trial of this case.




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Dated: May 17, 2019                    Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on May 17, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF Service.


                                               /s/ Ezra B. Marcus
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